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      ELLEN F. ROSENBLUM
      Oregon Attorney General
      MARC ABRAMS #890149
      Assistant Attorney-in-Charge
      Oregon Department of Justice
      1162 Court Street NE
      Salem, OR 97301
      Telephone: (503) 947-4700
      Fax: (503) 947-4791
      Email: marc.abrams@doj.state.or.us
             Additional attorneys listed on signature page

      Attorneys for Plaintiffs State of Oregon, Kate Brown, and Ellen Rosenblum

                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF OREGON

                                             EUGENE DIVISION


      THE STATE OF OREGON; KATE BROWN,                       Case No.
      Governor; and ELLEN ROSENBLUM,
      Attorney General,                                      COMPLAINT FOR DECLARATORY,
                                                             INJUNCTIVE, AND MANDAMUS
                       Plaintiffs,                           RELIEF

                v.

      DONALD J. TRUMP, President of the United
      States, in his official capacity; MATTHEW G.
      WHITAKER, Acting Attorney General of the
      United States, in his official capacity; and the
      UNITED STATES OF AMERICA,

                       Defendants.
                                             INTRODUCTION

                                                           1.

                The State of Oregon acting by and through its Governor Kate Brown and its Attorney

      General Ellen Rosenblum (together the “State of Oregon”) brings this complaint to enforce the

      boundaries between the broad constitutional police powers of the State of Oregon under the

      Tenth Amendment and the federal government’s power over the subject of immigration and the

      status of undocumented residents.

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                                                             2.

                Defendants seek to create a national requirement that state and local law enforcement

      assist in the federal government’s immigration enforcement. Defendants have implemented this

      national requirement by imposing sweeping new conditions on an established and

      congressionally appropriated federal grant program ― the Edward Byrne Memorial Justice

      Assistance Grant (“Byrne JAG”) ― that has for years provided crucial support for law

      enforcement in Oregon. Essentially, Defendants have “used the sword of federal funding to

      conscript state and local authorities to aid in federal civil immigration enforcement.” City of
      Chicago v. Sessions, 888 F.3d 272, 277 (7th Cir. 2018). In support of this effort, Defendants rely

      on two immigration statutes ― 8 U.S.C. §§ 1373 and 1644 ― that violate the Tenth Amendment

      to the U.S. Constitution.

                                                             3.

                In response, the State of Oregon now seeks to protect its jurisdiction and its residents

      from Defendants’ unconstitutional attempt to compel the State of Oregon to enforce federal

      immigration policies in a manner contrary to the State’s best interests.

                                                             4.

                In their effort to impermissibly commandeer the resources of the State of Oregon,

      Defendants have withheld Byrne JAG funds because the State of Oregon has not acquiesced to

      Defendants’ immigration enforcement demands. As a result, the State of Oregon has been

      unlawfully deprived of $2,034,945 in federal funds for fiscal year (“FY”) 2017 and expects to be

      deprived of $2,092,704 for FY 2018.

                                                             5.

                In effect, Defendants seek to use the Byrne JAG program as a tool to further their

      immigration enforcement agenda. Defendants appear to have targeted the State of Oregon for

      denial of Byrne JAG funds based on their interpretation of two Oregon laws ― ORS 181A.820

      and ORS 180.805. Defendants have implied in correspondence with Oregon officials that these

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      statutes violate federal law by preventing cooperation between law enforcement and immigration

      authorities. But in the statutes requiring Defendants to distribute Byrne JAG funds to states and

      localities, Congress did not impose any condition requiring states to have laws that aid

      Defendants’ implementation of federal immigration policy. For that reason, the Seventh Circuit

      recently concluded that Defendants’ actions are unlawful. Chicago v. Sessions, 888 F.3d at 287.

      Defendants’ decision to withhold this federally-mandated funding for law enforcement is

      contrary to law, good policing, and common sense.

                                                             6.
                The State of Oregon seeks declaratory, injunctive, and mandamus relief to address

      Defendants’ violations of federal statutes and the Constitution of the United States. Most

      importantly, the State of Oregon seeks a declaration that 8 U.S.C. §§ 1373 and 1644, which are

      the ultimate source of this conflict, are unconstitutional.

                                                      PARTIES

                                                             7.

                Plaintiff State of Oregon is a sovereign state in the United States of America existing

      under the constitution of the State of Oregon. Pursuant to 34 U.S.C. §§ 10151-10158 the State of

      Oregon is an eligible recipient of funds under the Byrne JAG program.

                                                             8.

                Plaintiff Kate Brown is the Governor of the State of Oregon.

                                                            9.

                Plaintiff Ellen Rosenblum is the Attorney General for the State of Oregon. Rosenblum is

      the chief law officer of the State of Oregon and attorney for the Oregon Criminal Justice

      Commission, as well as the head of the Oregon Department of Justice, authorized by Chapter

      180 of the Oregon Revised Statutes to ensure that Oregon’s laws are enforced.




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                                                             10.

                Brown in her official capacity as Governor of the State of Oregon, and Rosenblum, in her

      official capacity as Attorney General of the State of Oregon, bring this civil action on behalf of

      the State of Oregon, its agencies and political subdivisions. They also bring this action on behalf

      of the State as parens patriae to protect Oregon residents. Plaintiffs have the authority to bring

      this action under ORS 180.060 and the common law.

                                                             11.

                Defendant Donald J. Trump is President of the United States of America and is the head
      of the executive branch of the government of the United States of America. He is sued in his

      official capacity pursuant to 5 U.S.C. § 702.

                                                             12.

                Defendant Matthew G. Whitaker is the Acting Attorney General of the United States of

      America, and he oversees the United States Department of Justice (“USDOJ”), including the

      Office of Justice Programs (“OJP”), which administers the Byrne JAG program. He is sued in his

      official capacity pursuant to 5 U.S.C. § 702.

                                        JURISDICTION AND VENUE

                                                             13.

                Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1331 because this case

      involves a civil action arising under the U.S. Constitution and the laws of the United States. The

      Court also has jurisdiction under 28 U.S.C. § 1346 because this is a civil action against the

      federal government founded upon the U.S. Constitution and an Act of Congress. The Court has

      authority to provide relief under the Declaratory Judgment Act, 28 U.S.C. § 2201. The Court also

      has authority to provide mandamus relief pursuant to 28 U.S.C. § 1361.

                                                             14.

                Pursuant to 28 U.S.C. § 1391(e)(1), venue is proper in the District of Oregon because the

      Oregon Attorney General and the State of Oregon have offices in Salem, Marion County,

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      Oregon, and Defendants have offices at 1000 SW Third Ave, Portland, Oregon, and at 405 E. 8th

      Avenue, Eugene, Oregon.

                                      INTRADISTRICT ASSIGNMENT

                                                             15.

                Assignment to the Eugene Division of this District is proper pursuant to Local Rule 3-

      2(3) because Plaintiff State of Oregon has its capital in Salem, Marion County, Oregon.

                                                    STANDING

                                                             16.
                The State of Oregon brings this action to protect numerous important state interests

      harmed by Defendants’ actions. This Court can provide the State of Oregon with meaningful

      redress.

                                                             17.

                Defendants’ unlawful actions threaten the State of Oregon’s proprietary interests in

      millions of dollars appropriated by Congress for the direct benefit of Oregon, its law

      enforcement agencies, and its residents. Defendants are required by statute to distribute Byrne

      JAG funds to the State of Oregon pursuant to a strict formula. See 34 U.S.C. § 10156(a). The

      State of Oregon is entitled to an allocation of over $2,034,945 in Byrne JAG funds for FY 2017.

      To date Defendants have withheld the State of Oregon’s FY 2017 Byrne JAG funds. The State

      of Oregon has now applied for Byrne JAG funds for FY 2018, and expects to be entitled to

      receive $2,092,704 for FY 2018. Because Defendants have not paid the Byrne JAG funds for

      FY 2017, the State of Oregon expects that Defendants will also withhold the Byrne JAG funds

      for FY 2018. Absent injunctive relief, the State of Oregon will face significant funding shortfalls

      for critical law enforcement initiatives funded by Byrne JAG.

                                                             18.

                Defendants’ actions threaten the physical and economic health and well-being of Oregon

      residents, including those assisted by Oregon law enforcement entities entitled to receive Byrne

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      JAG funds. Oregon has a legitimate interest in preventing present and future harm to its

      residents. Governor Brown and Attorney General Rosenblum therefore have authority to

      commence this legal action under the doctrine of parens patriae.

                                                             19.

                The Oregon Attorney General, as the State of Oregon’s chief law officer, is uniquely

      situated to seek declaratory and injunctive relief that protects the rights of law enforcement

      entities and state and local government entities across Oregon. In addition, Defendants have

      specifically and impermissibly required the Oregon Attorney General to certify the State of
      Oregon’s compliance with unconstitutional federal requirements.

                                                             20.

                In addition to requiring the Oregon Attorney General to certify that the State complies

      with unconstitutional statutes, Defendants are purporting to require certification that subgrantees

      comply with those unconstitutional provisions. The State of Oregon has numerous subgrantees,

      many of them counties and cities that exercise a significant degree of political independence

      pursuant to Oregon’s constitution and laws. Ascertaining subgrantee compliance with

      unconstitutional statues is an unjustified burden. And it is exacerbated by the inexplicably broad

      interpretation of the relevant statutes that Defendants have endorsed. Defendants have stated in

      other legal proceedings that “information regarding citizenship or immigration status” under

      8 U.S.C. § 1373 encompasses any “information critical in applying the ‘immigration laws,’”

      including information helpful to Defendants in effectuating the “removal of aliens.”

                                                             21.

                Earlier this year, United States Secretary for Homeland Security Kirstjen Nielsen stated

      that, at her department’s request, the USDOJ was exploring commencing criminal prosecutions

      under 8 U.S.C. § 1324 against state and local elected officials of jurisdictions that do not actively

      assist federal immigration enforcement. In January, then-acting Director of the U.S. Immigration

      and Customs Enforcement (“ICE”),Tom Homan, similarly stated, “we gotta start charging some

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      of these politicians with crimes” and “hold back their funding.” The certifications that

      Defendants are requiring grant recipients to submit echo these public comments, threatening

      “criminal prosecution” of state and local officials and “holding back funding” from jurisdictions

      that do not actively assist Defendants’ immigration enforcement efforts.

                                                            22.

                Finally, Defendants’ actions directly injure the sovereignty of the State of Oregon. The

      federal statutes at issue, 8 U.S.C. §§ 1373 and 1644, require the State of Oregon to exercise its

      police power in a manner contrary to the best interests of Oregon residents.
                                  FACTUAL AND LEGAL BACKGROUND

                                                            23.

                This case presents a conflict between federal immigration enforcement policies and the

      State of Oregon’s exercise of its broad police powers under the Tenth Amendment.

                                                            24.

                “Immigration policy shapes the destiny of the Nation.” Arizona v. United States,

      567 U.S. 387, 415 (2012). Plaintiff does not dispute that the United States has significant power

      over the subject of immigration and the status of undocumented residents. Id. at 394. “The

      federal power to determine immigration policy is well settled. Immigration policy can affect

      trade, investment, tourism, and diplomatic relations for the entire Nation, as well as the

      perceptions and expectations of aliens in this country who seek the full protection of its laws.”

      Id. at 395.

                                                            25.

                While the federal government has significant power to regulate immigration, “[w]ith

      power comes responsibility, and the sound exercise of national power over immigration depends

      on the Nation’s meeting its responsibility to base its laws on a political will informed by

      searching, thoughtful, rational civic discourse.” Arizona v. United States, 567 U.S. 387, 416.

      That responsibility also requires ensuring that the federal immigration laws do not encroach on

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      the states’ sovereign authority to exercise their broad police powers according to their own

      political will.

                                                             26.

                The authority of the federal government with regard to immigration does not diminish the

      separate sovereignty of the states:

                When the original States declared their independence, they claimed the powers
                inherent in sovereignty—in the words of the Declaration of Independence, the
                authority “to do all * * * Acts and Things which Independent States may of right
                do.” The Constitution limited but did not abolish the sovereign powers of the
                States, which retained “a residuary and inviolable sovereignty.” The Federalist
                No. 39, p. 245 (C. Rossiter ed. 1961). Thus, both the Federal Government and the
                States wield sovereign powers, and that is why our system of government is said
                to be one of ‘dual sovereignty.’
      Murphy v. NCAA, 138 S. Ct. 1461, 1475 (2018).

                                                             27.

                A core aspect of state sovereignty is the notion that Congress cannot issue legislative

      directives to states in their role as states. “Conspicuously absent from the list of powers given to

      Congress is the power to issue direct orders to the governments of the States.” Murphy v. Nat’l

      Collegiate Athletic Ass’n, 138 S. Ct. at 1476.

                           Immigration and Nationality Act Sections 1373 and 1644

                                                             28.

                Through the Immigration and Nationality Act (“INA”), 8 U.S.C. §§ 1101 et seq.,

      Congress granted the executive branch significant power over the regulation and enforcement of

      immigration laws in the U.S. See Arizona v. United States, 567 U.S. at 395-96.

                                                             29.

                Section 1373 of the INA, which Congress passed in 1996, prohibits state and local

      governments from restricting government officials or entities from communicating information

      regarding immigration status to ICE. It states in relevant part:

                (a) In General. Notwithstanding any other provision of Federal, State, or local
                law, a Federal, State, or local government entity or official may not prohibit, or in

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                any way restrict, any government entity or official from sending to, or receiving
                from, the Immigration and Naturalization Service information regarding the
                citizenship or immigration status, lawful or unlawful, of any individual.

                (b) Additional Authority of Government Entities. Notwithstanding any other
                provision of Federal, State, or local law, no person or agency may prohibit, or in
                any way restrict, a Federal, State, or local government entity from doing any of
                the following with respect to information regarding the immigration status, lawful
                or unlawful, of any individual:

                       (1) Sending such information to, or requesting or receiving such
                information from, the Immigration and Naturalization Service.

                       (2) Maintaining such information.

                      (3) Exchanging such information with any other Federal, State, or local
                government entity.
      8 U.S.C. § 1373.

                                                             30.

                In 1996, Congress also passed Section 1644 of the INA, which similarly bars state and

      local government officials or entities from restricting how they communicate information

      regarding immigration status to ICE. It states:

                Notwithstanding any other provision of Federal, State, or local law, no State or local
                government entity may be prohibited, or in any way restricted, from sending to or
                receiving from the Immigration and Naturalization Service information regarding the
                immigration status, lawful or unlawful, of an alien in the United States.
      8 U.S.C. § 1644.

                                                             31.

                Both of these statutes specifically regulate conduct by states (and political subdivisions of

      states) in their sovereign capacities. Specifically, the statutes purport to prohibit state and local

      governments from enacting laws (or adopting other policies) that govern the official conduct of

      public officers and employees.

                                 Oregon’s Immigration Enforcement Statutes

                                                             32.

                The State of Oregon has enacted laws regarding the participation of local and state law

      enforcement agencies in federal immigration enforcement. In 1987, Oregon enacted

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      ORS 181A.820, which bars Oregon law enforcement agencies from expending money for the

      purpose of detecting or apprehending persons whose only violation of law is that they are

      persons of foreign citizenship present in the United States in violation of federal immigration

      laws.

                                                             33.

                In 2017, the Oregon Legislature enacted ORS 180.805, which the legislature drafted to

      specifically to comply with Section 1373. The statute, in pertinent part, provides as follows:

                (1) Except as required by state or federal law, a public body may not disclose, for
                the purpose of enforcement of federal immigration laws, the following
                information concerning any person, whether current or otherwise:
                         (a) The person’s address;
                         (b) The person’s workplace or hours of work;
                         (c) The person’s school or school hours;
                         (d) The person’s contact information, including telephone number,
                         electronic mail address or social media account information;
                         (e) The identity of known associates or relatives of the person;
                         (f) The date, time or location of the person’s hearings, proceedings or
                         appointments with the public body that are not matters of public record; or
                         (g) Information described in paragraphs (a) through (f) of this subsection
                         with respect to known relatives or associates of the person.
                ***
                 (3)(a) If a public body collects information concerning a person’s citizenship or
                immigration status, the public body may decline to disclose the information unless
                disclosure is required by:
                         (A) State or federal law;
                         (B) A court order; or
                         (C) A warrant authorized by a court.
                ***

                (5) Nothing in this section prohibits any public body from complying with a
                federal immigration authority as required by federal law.
                ***
                                                             34.

                Oregon’s state and local officials are responsible for policing, protecting, and serving all

      residents, including more than 389,000 foreign-born individuals, who live in the State. To

      achieve those goals, the State of Oregon enacted the foregoing statutes as an exercise of the

      State’s police power to regulate the health, welfare, and public safety of its residents. Those



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      laws are instrumental to building the trust necessary to ensuring that victims report crimes to law

      enforcement so that perpetrators are apprehended before harming others. Building that trust has

      historically been difficult in immigrant communities, where residents often fear—regardless of

      immigration status—that engaging with law enforcement could result in deportation. When local

      and state officials engage in immigration enforcement, as Defendants contemplate, vulnerable

      victims and witnesses are less likely to come forward to report crimes, creating a danger to all

      Oregon residents.

                                                             35.
                Moreover, those laws ensure that state and local resources are devoted to fulfilling state

      and local policing responsibilities. State and local law enforcement agencies are not required to

      expend their limited resources on enforcing immigration policies that are a federal responsibility.

                                                             36.

                Oregon is not alone in adopting this approach. Across the country, many other state and

      local jurisdictions have enacted laws to limit state and local law enforcement of federal

      immigration policy. See e.g. City of Chicago v. Sessions, 888 F.3d at 281; City of Philadelphia v.

      Sessions, 280 F. Supp. 3d 579, 591, 602 (E.D. Pa. 2017). Significantly, Oregon law does not

      interfere with Defendants’ lawful pursuit of its civil immigration activities in Oregon. See City of

      Chicago v. Sessions, 888 F.3d at 281 (“The federal government can and does freely operate in

      ‘sanctuary’ localities.”).

                                            The Byrne JAG Program

                                                             37.

                The USDOJ, overseen by Defendant Whitaker and acting through the OJP, administers

      the Byrne JAG program. See 34 U.S.C. §§ 10151-10158.

                                                             38.

                The Byrne JAG program is a mandatory formula grant: it requires awarding grant funds

      based on a statutorily-defined formula, and the federal government must disburse funds in the

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      amount dictated by that formula if an applicant meets the requirements set forth in the

      authorizing statutes. 34 U.S.C § 10156.

                                                             39.

                Byrne JAG awards are provided to each state, as well as to certain local jurisdictions

      within each state. Under the governing statute, defendants “shall” allocate all congressionally-

      appropriated funds to each state and qualifying unit of local government according to a

      prescribed methodology. 34 U.S.C. § 10156(a), (b), (c), (d).

                                                             40.
                The Byrne JAG program supports state and local law enforcement efforts by providing an

      additional source of funding for personnel, equipment, training, and other criminal justice

      needs. 34 U.S.C § 10152. The purposes of the grant include: supporting law enforcement

      programs, reducing recidivism, conducting crime prevention and education programs for at-risk

      youth, and supporting programs for crime victims and witnesses.

                                                             41.

                The Byrne JAG program merges two earlier programs: the Edward Byrne Memorial State

      and Local Law Enforcement Assistance Program grants; and Local Law Enforcement Block

      Grants. See Pub. L. No. 109-162, 119 Stat. 2960, 3094 (2006). In merging those two programs,

      Congress identified eight types of programs that the grant was intended to fund: (1) law

      enforcement programs; (2) prosecution and court programs; (3) prevention and education

      programs; (4) corrections and community corrections programs; (5) drug treatment and

      enforcement programs; (6) planning, evaluation, and technology improvement programs; (7)

      crime victim and witness programs; and (8) mental health programs and related law enforcement

      and corrections programs. 34 U.S.C. § 10152(a)(1)(A)-(H).

                                                             42.

                For FY 2017, Congress has appropriated $396 million for the Byrne JAG program.

      Consolidated Appropriations Act of 2017, Pub. L. No. 115–31, 131 Stat. 135, 203.

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                                                            43.

                Federal law entitles the State of Oregon to Byrne JAG funds so long as it proposes to use

      them to achieve one of the eight criminal justice goals articulated in the authorizing statute. See

      id. § 10152(a)(1). The State of Oregon may retain some of these funds for itself, see id.

      § 10156(c)(1), and must disburse the rest to its local governments, see id. § 10156(c)(2).

                                                            44.

                The State of Oregon has received Byrne JAG funds every year since the program’s

      creation in 2005. The State of Oregon has used Byrne JAG funds to support drug treatment and
      enforcement programs, mental health programs, and technology improvement programs among

      other efforts. With respect to the FY 2017 Byrne JAG award, the State of Oregon planned to use

      the grants to support specialty courts designed to address root causes of criminal activity and to

      provide statewide assistance to local crime victims. For FY 2018, the State of Oregon plans to

      use Byrne JAG funds to support specialty court programs that target non-violent felony offenders

      in an integrated, systemic approach to reduce drug use and recidivism while increasing public

      safety.

                                                            45.

                To date, the State of Oregon has not received the FY 2017 grant totaling $2,034,945 that

      Congress has appropriated in law enforcement funding to the State of Oregon and its political

      subdivisions pursuant to the Byrne JAG program.

                                                            46.

                For FY 2018, the State of Oregon anticipates receiving $2,092,704, but the State

      anticipates that Defendants will also withhold the FY 2018 funds.

                      Defendants Impose Three Unlawful Conditions on Byrne JAG Funds

                                                            47.

                The Byrne JAG authorizing statute, 34 U.S.C. § 10153(a)(5)(D), requires that

      jurisdictions comply with “applicable Federal laws.”

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                                                            48.

                On July 25, 2017, Defendants announced they were seeking state and municipal

      applications for FY 2017 Byrne JAG funds. In this solicitation, Defendants announced new

      requirements for every state and municipality receiving FY 2017 Byrne JAG funds, including the

      three unlawful, immigration-related conditions that are the subject of this action. This complaint

      refers to those conditions as the “Compliance Condition,” the “Access Condition”, and the

      “Notice Condition.”

                                                            49.
                For the purposes of this lawsuit, and consistent with its correspondence with OJP, the

      State of Oregon does not allege or concede that it is out of compliance with the Compliance,

      Access or Notice Conditions. State of Oregon’s compliance or noncompliance is ultimately

      immaterial to the question whether Defendants have authority to impose the conditions. Under

      the governing statutes, State of Oregon is entitled to Byrne JAG funds and cannot be required to

      meet these additional, unconstitutional, conditions.

      A. Compliance Condition.

                                                            50.

                In the FY 2017 Byrne JAG solicitation, Defendants announced that, “in order to validly

      to accept an FY 2017 [Byrne] JAG award, the chief legal officer of the applicant State must

      properly execute, and the State must submit, the specific certification regarding compliance with

      8 U.S.C. § 1373 attached to this solicitation as Appendix II.” Similarly, Defendants announced

      that, “in order validly to accept a Fiscal Year (FY) 2017 JAG award, the chief legal officer of the

      applicant unit of local government must properly execute, and the unit of local government must

      submit, the specific certification regarding compliance with 8 U.S.C. § 1373 attached to this

      solicitation as Appendix II.” The Attorney General of Oregon is the State’s chief legal officer,

      As a result, the Attorney General must execute and submit certification regarding the State of

      Oregon’s compliance with 8 U.S.C. § 1373.

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                                                            51.

                Defendants’ FY 2018 Byrne JAG solicitation added additional language requiring the

      jurisdictions’ chief legal officer to certify compliance with 8 U.S.C. § 1644. Defendants’ FY

      2018 Certificate of Compliance confirms that the Attorney General (on behalf of the State of

      Oregon) must certify compliance with 8 U.S.C. § 1644. As a result, for the FY 2018 Byrne JAG,

      the Attorney General must execute and submit certification regarding the State of Oregon’s

      respective compliance with 8 U.S.C. §§ 1373 and 1644.

      B. The Access and Notice Conditions.
                                                            52.

                Defendants’ FY 2017 state and local government solicitations also announced the

      application of two additional “express conditions” relating to immigration enforcement – the

      Access Condition and the Notice Condition.

                                                            53.

                Pursuant to the Access Condition, Defendants require recipients of Byrne

      JAG funds to “permit personnel of the U.S. Department of Homeland Security (“DHS”) to

      access any correctional or detention facility in order to meet with an alien (or an individual

      believed to be an alien) and inquire as to his or her right to be or remain in the United States.”

                                                            54.

                Pursuant to the Notice Condition, Defendants require recipients of Byrne JAG funds to

      “provide at least 48 hours’ advance notice to DHS regarding the scheduled release date and time

      of an alien in the jurisdiction’s custody when DHS requests such notice in order to take custody

      of the alien pursuant to the Immigration and Nationality Act.”

                            Defendants Withhold the FY 2017 Byrne JAG Award

                                                            55.

                The Oregon Criminal Justice Commission (“OCJC”) is the Oregon state agency that

      receives and administers Byrne JAG funds on behalf of Oregon. OCJC responded to

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      Defendants’ solicitation by the deadline of August 25, 2017. OCJC’s application proposed to

      use Byrne JAG funds to achieve the criminal justice goals articulated in the authorizing statute,

      see 34 U.S.C. § 10152(a)(1), and OCJC’s approach satisfied all other lawfully imposed

      requirements.

                                                           56.

                According to the FY 2017 Byrne JAG solicitation, Defendants anticipated issuing Byrne

      JAG award notifications by September 30, 2017. To date, however, Defendants have not issued

      an award notification or otherwise contacted OCJC or any other state entity regarding an
      acceptance of Oregon’s FY 2017 Byrne JAG applications.

                                                           57.

                Instead of responding directly to Oregon’s Byrne JAG application, Defendants responded

      in a letter to the State dated November 15, 2017, claiming that ORS 181A.820 and ORS 180.805

      appear to conflict with 8 U.S.C. § 1373. OJP’s letter did not explain OJP’s view that ORS

      181A.820 and ORS 180.805 conflict with 8 U.S.C. § 1373(a). Instead it requested a narrative

      detailing any Oregon “laws, policies, or practices that violate section 1373,” including

      ORS 181A.820 and ORS 180.805. OCJC replied with a detailed explanation that the laws do not

      conflict with federal law.

                                                           58.

                On April 17, 2018, the OJP sent an email to OCJC in which it explained that “The

      Bureau of Justice Assistance (BJA) has not awarded its FY 2017 Byrne JAG grants due to the

      issuance of a nationwide injunction by a U.S. District Court on September 15, 2017,” but that in

      the meantime “state and local applicants for Byrne JAG grants under the FY 2017 program may

      obligate and expend their own funds on allowable JAG projects after the start date of

      October 1, 2016. Once the grants are awarded, FY 2017 Byrne JAG funds received, if any, may

      be used for reimbursement of those expenditures.”



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                                                            59.

                Defendants’ imposition of immigration-related conditions on FY 2017 Byrne JAG

      funding has been litigated in several courts, including the Seventh Circuit, which concluded in

      April 2018 that the USDOJ lacked authority to impose the Access and Notice Conditions. City

      of Chicago v. Sessions, 888 F.3d at 277; see also City of Chicago v. Sessions, No. 17CV5720,

      2018 WL 3608564, at *11-*12 (N.D. Ill. July 27, 2018). Two district courts have also held that

      Section 1373 violates the Tenth Amendment and that as a result, Defendants may not condition

      the receipt of Byrne JAG funds on compliance with an unconstitutional statute. City of Chicago
      v. Sessions, 2018 WL 3608564, at *5-*11 (“Section 1373 is this unconstitutional on its face.”);

      City of Philadelphia v. Sessions, 309 F. Supp. 3d 289, 328-31 (E.D. Pa. 2018) (holding Section

      1373 unconstitutional under the anti-commandeering doctrine).

                                                            60.

                Despite these rulings, Defendants continue to withhold State of Oregon’s FY 2017 Byrne

      JAG funds. Defendants’ correspondence with the State of Oregon regarding Oregon’s 2017

      Byrne JAG application indicates that Defendants seek to override Oregon policy designed to

      encourage all residents to interact with state and local law enforcement, and with government

      agencies.

                      Defendants Impose Further Conditions on FY 2018 Byrne JAG Funds

                                                            61.

                On July 20, 2018, Defendants announced that they would impose a number of

      immigration-related conditions on jurisdictions seeking FY 2018 Byrne JAG funding.

                                                            62.

                Two of those conditions are materially identical to the Access and Notice Conditions

      discussed above. Defendants have also expanded the Compliance condition to incorporate

      8 U.S.C. § 1644 in addition to § 1373. Given the substantive similarities between the two federal



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      statutes, this addition does not appear to meaningfully change the nature of the Compliance

      Condition.

                                                              63.

                In addition to the certification required with regard to the Compliance Condition, the

      2018 application requires applicants to respond to questions related to the Compliance

      Condition:

                (1)      Does your jurisdiction have any laws, policies, or practices related to
                whether, when, or how employees may communicate with DHS or ICE?
                (2)      Is your jurisdiction subject to any laws from a superior political entity
                (e.g., a state law that binds a city) that meet the description in question 1?
      Answers, and potentially additional material, “must be provided by the applicant as part of the

      JAG application,” as a condition of receiving Byrne JAG funds.

                                                              64.

                The FY 2018 Byrne JAG application also states that the “reasonable costs” of complying

      with the Notice and Access Conditions, including the costs of “honoring any duly authorized

      requests from DHS that is encompassed by these conditions, will be allowable costs under the

      award.” That provision further demonstrates Defendants’ usurpation of the Congressional

      spending power. Byrne JAG funds, which Congress explicitly directed to support local criminal-

      justice efforts, will instead be used to unlawfully fund federal immigration enforcement.

                                                              65.

                The FY 2018 Byrne JAG applications also purports to condition awards on the

      jurisdiction’s chief legal officer (the Attorney General) certifying that the jurisdiction will not

      “violate, or aid or abet any violation of, 8 U.S.C. §1324(a) (forbidding any ‘person,’ in ‘knowing

      or in reckless disregard of the fact that an alien has come to, entered, or remains in the United

      States in violation of law,’ to ‘conceal, harbor, or shield from detection, or attempt to conceal,

      harbor, or shield from detection, such alien in any place, including any building or any means to

      aid or abet in the commission of the preceding acts’).”


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                      Defendants Lack Authority to Impose the Compliance Condition

                                                            66.

                Because 8 U.S.C. §§ 1373 and 1644 violate the Tenth Amendment, Defendants may not

      rely on the Compliance Condition to withhold Plaintiffs’ FY 2017 Byrne JAG funds, or to reject

      Plaintiff’s FY 2018 Byrne JAG applications. The Tenth Amendment limits Congress’s

      legislative authority to those powers enumerated in the Constitution. Congress may not directly

      compel states and their political subdivisions to enact a regulation or enforce a federal regulatory

      program, may not conscript state officers for such purpose, and may not prohibit a state from
      enacting laws. This constitutional anti-commandeering principle “is one of the Constitution’s

      structural protections of liberty.” Printz v. United States, 521 U.S. 898, 921 (1997). Among

      other benefits, the anti-commandeering principle ensures that the sovereign states are free to

      legislate as they see fit to promote the safety and welfare of their residents.

                                                            67.

                The Supreme Court recently affirmed that the anti-commandeering principle prevents

      Congress from issuing direct orders to state legislatures. Murphy v. NCAA, 138 S. Ct. at 1478.

      This is precisely what 8 U.S.C. § 1373(a) and (b) and § 1644 do. These provisions dictate to

      states like Oregon that they may not promulgate laws or regulations that prohibit state or local

      officials from sharing immigration-status information with federal officials, even if sharing that

      information would directly undermine state or local programs. “A more direct affront to state

      sovereignty is not easy to imagine.” Id. Sections 1373(a)-(b) and 1644 regulate only state

      actors, and regulate them only in their capacity as state actors. Thus neither is a preemptive

      federal law. Murphy v. NCAA, 138 S. Ct. at 1481. 8 U.S.C. § 1373(a)-(b) and § 1644 are

      unconstitutional.

                                                            68.

                Defendants may not condition Oregon’s Byrne JAG funds on the State’s compliance with

      an unconstitutional statute. City of Chicago v. Sessions, 2018 WL 3608564, at *13 (“[T]he

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      Attorney General has no authority to demand compliance with Section 1373, hereby deemed

      unconstitutional, under the Byrne JAG statute.”); City of Philadelphia v. Sessions, 309 F. Supp.

      3d at 329 (“Because the JAG Byrne Program requires compliance with an unconstitutional

      statute (in this case, Section 1373) in order to receive grant funds, the Certification Condition is

      itself unconstitutional.”); see also generally United States v. California, No. 2:18-cv-490-JAM-

      KJN, 2018 WL 3301414, at *14 (E.D. Cal. July 5, 2018) (“The Court finds the constitutionality

      of Section 1373 highly suspect.”).

                      Defendants Lack Authority to Impose the Notice and Access Conditions
                                                             69.

                For different, but equally important constitutional reasons, Defendants also lack the

      authority to impose the Access and Notice Conditions. The creation of these conditions by the

      executive branch to impede congressionally-appropriated funding of state and local law

      enforcement violates the doctrine of separation of powers by invading Congress’s spending

      authority. “The power of the purse does not belong to the Executive Branch. It rests in the

      Legislative Branch.” City of Chicago v. Sessions, 888 F.3d at 283. Defendants, as executive

      branch officials, have no authority to impose additional conditions on the receipt of funds

      appropriated by the legislative branch for the Byrne JAG program; the authority to condition the

      receipt of federal funds lies exclusively with Congress. As the Seventh Circuit held in City of

      Chicago v. Sessions, 888 F.3d at 283-87, the Byrne JAG statute does not contain a single

      provision that could authorize Defendants to impose the Access and Notice Conditions on any

      state or local jurisdiction. Nor does any other statute grant Defendants such authority.

                                                             70.

                Finally, nothing in the Byrne JAG statutes empowers Defendants to simply decline to

      issue an award letter to any jurisdiction that, in Defendants’ estimation, does not share the

      Department’s commitment to enforcing federal immigration policy. As noted above, the Byrne

      JAG is a formula grant administered by Defendants, who “shall” allocate all congressionally-

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      appropriated funds to each state and qualifying unit of local government according to a

      prescribed methodology. 34 U.S.C. §§ 10156(a), (b), (c), (d). Defendants may not constructively

      deny funds appropriated by Congress for the benefit of the State of Oregon by simply declining

      to act.

                                             CLAIMS FOR RELIEF

                                         FIRST CLAIM FOR RELIEF

                               DECLARATORY AND INJUNCTIVE RELIEF

            (Compliance Condition – 8 U.S.C. §§ 1373 and 1644 Violate the Tenth Amendment)
                                                             71.

                State of Oregon repeats and re-alleges Paragraphs 1 through 70 as if fully set forth herein.

                                                             72.

                The Tenth Amendment to the United States Constitution prohibits the federal government

      from requiring state and local governments to govern according to Congress’s instructions, or

      from commandeering state and local officials to administer or enforce a federal regulatory

      program. This anti-commandeering principle also forbids Congress from unequivocally

      dictating what a state legislature may and may not do.

                                                             73.

                Sections 1373 and 1644 on their face violate the Tenth Amendment because they require

      state and local governments to govern according to Congress’s instructions.

                                                             74.

                 In addition, Sections 1373 and 1644 on their face violate the Tenth Amendment because

       they commandeer state and local officials to administer or enforce a federal regulatory program.

                                                             75.

                Because Sections 1373 and 1644 violate the Tenth Amendment, Defendants cannot

      require the State of Oregon to certify compliance with these unconstitutional statutes.



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                                                              76.

                An actual controversy exists because Defendants are requiring the State of Oregon to

      certify compliance with Sections 1373 and 1644 in order to obtain congressionally appropriated

      federal funds even though the two statutes violate the Tenth Amendment.

                                                              77.

                Pursuant to 28 U.S.C. § 2201, State of Oregon is entitled to a declaration that Sections

      1373 and 1644 violate the Tenth Amendment and are unconstitutional.

                                                              78.
                Plaintiffs are also entitled to a declaration that Defendants cannot rely on these statutes,

      or on any reporting or certification requirements related to these statutes, to withhold the Byrne

      JAG funds under the Compliance Condition.

                                                              79.

                State of Oregon is also entitled to injunctive relief prohibiting Defendants from

      withholding FY 2017 Byrne JAG funds due to State of Oregon.

                                                              80.

                State of Oregon is also entitled to injunctive relief prohibiting Defendants from declining

      to accept and process State of Oregon’s FY 2018 Byrne JAG applications, and from withholding

      FY 2018 Byrne JAG funds due to State of Oregon.

                                        SECOND CLAIM FOR RELIEF

         VIOLATION OF CONGRESSIONAL SPENDING AUTHORITY AND SEPARATION
                                  OF POWERS
                                DECLARATORY AND INJUNCTIVE RELIEF

                              (Ultra Vires as to the Access and Notice Conditions)

                                                              81.

                Plaintiff repeats and re-alleges Paragraphs 1 through 79 as if fully set forth herein.




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                                                             82.

                Article I, Section I of the United States Constitution vests Congress with legislative

      powers, and Article I, Section VIII of the United States Constitution vests exclusively in

      Congress the spending power to “provide for * * * the General Welfare of the United States.”

      Absent a statutory provision or express delegation, only Congress is empowered to attach

      conditions to federal funds.

                                                             83.

                Defendants are officials of the Executive Branch. The executive does not have unilateral
      authority to refuse to spend funds that have already been appropriated by Congress for a

      particular project or program. Imposing a new condition on a federal grant program amounts to

      refusing to spend money appropriated by Congress.

                                                             84.

                Congress has not enacted the Access and Notice Conditions as part of any statutory

      scheme.

                                                             85.

                Congress has not enacted the Access and Notice Conditions as applicable to Byrne JAG

      funds.

                                                             86.

                Congress has not delegated to Defendants the authority to impose the Access and Notice

      Conditions on the acceptance of an application for Byrne JAG funds, the processing of such an

      application, or on the issuance of Byrne JAG funds.

                                                             87.

                Defendants’ imposition of the Notice and Access Conditions, and of all related reporting

      and certification requirements, unconstitutionally intrudes upon and usurps powers that belong to

      Congress, violating the principle of separation of powers generally and the Spending Clause

      specifically.

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                                                             88.

                Pursuant to 28 U.S.C. § 2201, State of Oregon is entitled to a declaration that the Access

      and Notice Conditions are ultra vires and unconstitutional; that these conditions do not provide a

      basis for withholding or terminating any of the State’s federal funding; that Defendants may not

      impose these conditions or any related reporting or certification requirements to withhold the

      State’s FY 2017 Byrne JAG funds; that Defendants may not impose these conditions or any

      related reporting or certification requirements to decline to accept and process State of Oregon’s

      FY 2018 Byrne JAG applications, or to deny State of Oregon’s FY 2018 Byrne JAG funds; and
      that these conditions and any related reporting or certification requirements should be set aside.

                                                             89.

                State of Oregon is also entitled to injunctive relief prohibiting Defendants from

      withholding FY 2017 Byrne JAG funds due to State of Oregon.

                                                             90.

                State of Oregon is also entitled to injunctive relief prohibiting Defendants from declining

      to accept and process State of Oregon’s FY 2018 Byrne JAG applications, and from withholding

      FY 2018 Byrne JAG funds due to State of Oregon.

                                         THIRD CLAIM FOR RELIEF

                                                    (Mandamus)

                                                             91.

                State of Oregon repeats and re-alleges Paragraphs 1 through 89 as if fully set forth herein.

                                                             92.

                Pursuant to Part A, Subchapter V, Chapter 101, Subtitle 1, of Title 34 of the United States

      Code, 34 U.S.C. §§ 10151-10158, Plaintiff has a clear right to receive from Defendants — and

      Defendants have a nondiscretionary duty to provide to State of Oregon — Byrne JAG award

      notifications for the full amount of funds to which it is entitled that do not contain any



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      unconstitutional or unlawful conditions. No other adequate remedy is available to State of

      Oregon.

                                                             93.

                In other lawsuits in which state and local jurisdictions have won injunctions barring

      Defendants from imposing unlawful conditions on the receipt of Byrne JAG funds, Defendants

      have simply declined to issue new award notifications — thereby complying with the letter of

      those injunctions, but still denying Byrne JAG funds to those jurisdictions.

                                                             94.
                Pursuant to 28 U.S.C. § 1361, this Court has the authority to issue a writ of mandamus

      compelling Defendants Trump and Whitaker to perform their duty to provide Plaintiff with

      Byrne JAG funds in the full amount of funds to which State of Oregon is entitled for FY 2017

      forward, without attaching unconstitutional or otherwise unlawful conditions.



                                            PRAYER FOR RELIEF

                WHEREFORE, the State of Oregon, Governor Kate Brown, and Attorney General Ellen

      Rosenblum request the following relief:

                1.     Declare that 8 U.S.C. §§ 1373 and 1644 violate the Tenth Amendment and enjoin

      Defendants from taking any action based on alleged noncompliance with those federal statutes.

                2.     Declare that because 8 U.S.C. §§ 1373 and 1644 violate the Tenth Amendment,

      the Compliance Condition does not provide a basis for withholding or terminating any of State of

      Oregon’s congressionally appropriated Byrne JAG funding.

                3.     Declare that the Access and Notice Conditions are ultra vires because those

      conditions violate Article I, Section VIII of the US Constitution (the Spending Clause), as well

      as separation-of-powers principles, and are therefore unconstitutional and cannot provide a basis

      for withholding or terminating any of State of Oregon’s congressionally appropriated Byrne JAG

      funding.

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                4.    Enjoin Defendants from requiring State of Oregon to comply with, or certify

      compliance with, 8 U.S.C. § 1373(a)-(b) and/or 8 U.S.C. § 1644 as a prerequisite to disbursing

      any of State of Oregon’s congressionally appropriated Byrne JAG funding.

                5.    Enjoin Defendants from requiring State of Oregon to comply with, or certify

      compliance with, the Access and Notice Conditions, or any other conditions relating to federal

      immigration laws or policy, as a prerequisite to disbursing any of State of Oregon’s

      congressionally appropriated Byrne JAG funding.

                6.    Issue a writ of mandamus pursuant to 28 U.S.C. § 1361 compelling Defendants
      Trump and Whitaker to perform their duty to provide State of Oregon with Byrne JAG funds for

      FY 2017 forward without attaching any unconstitutional or otherwise unlawful conditions.

                7.    Award State of Oregon its costs and fees in this action.

                8.    Award such other relief as the Court deems proper and just.

                DATED November 9 , 2018.

                                                           Respectfully submitted,

                                                           ELLEN F. ROSENBLUM
                                                           Attorney General



                                                               s/ Marc Abrams
                                                           MARC ABRAMS #890149
                                                           Assistant Attorney-in-Charge
                                                           TIMOTHY SMITH #914374
                                                           Senior Assistant Attorney General
                                                           PEENESH SHAH #112131
                                                           Assistant Attorney General
                                                           Trial Attorneys
                                                           Tel (503) 947-4700
                                                           Fax (503) 947-4791
                                                           marc.abrams@doj.state.or.us
                                                           tim.smith@doj.state.or.us
                                                           Peenesh.H.Shah@doj.state.or.us
                                                           Of Attorneys for Plaintiffs




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